Case 3:09-cr-30142-DRH     Document 52     Filed 08/13/10   Page 1 of 2   Page ID #137




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 JEREMY MALONE,

 Defendant.                                          No. 09-30142-DRH

                                       ORDER

 HERNDON, Chief Judge:

              On July 23, 2010, the Court sentenced Jeremy Malone to 60 months

 imprisonment for conspiracy with the intent to distribute and possess with the intent

 to distribute 1,000 kilograms or more of marijuana and entered judgment reflecting

 the same (Docs. 46 & 48). After the Court pronounced the sentence, Malone orally

 moved to voluntary surrender to the of Bureau of Prisons (“BOP”) to allow him time

 to resolve his medical issues. The Court allowed Malone to remain out on bond to

 attend his doctor’s appointment and ordered his counsel to provide a doctor’s report

 from the visit. The Court informed the parties that after reviewing the report it

 would determine whether Malone would have to surrender to the United States

 Marshal Service immediately or surrender to the BOP upon his classification.

              Based on the report, the Court finds that there is not any medical

 condition amounting to exceptional circumstances that would require Malone to be

 treated by a physician and no follow-up treatment is planned by Malone’s doctor. In


                                      Page 1 of 2
Case 3:09-cr-30142-DRH     Document 52      Filed 08/13/10   Page 2 of 2   Page ID #138




 fact, Malone’s doctor reports: “I find nothing wrong with him at this point ...” Thus,

 the Court ORDERS Malone to surrender immediately to the United States Marshal

 Service in the United States Courthouse in East St. Louis, Illinois and certainly no

 later than Monday, August 23, 2010 at 3:00 p.m.

              IT IS SO ORDERED.

              Signed this 13th day of August, 2010.


                                                       /s/ DavidRHer|do|
                                                      Chief Judge
                                                      United States District Court




                                       Page 2 of 2
